Case 9:08-cr-00041-TH          Document 33         Filed 01/21/09      Page 1 of 1 PageID #: 169

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                        LUFKIN DIVISION



UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §            NO. 9:08-CR-41
                                                   §
JONATHAN TERRELL BROWN                             §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


        On this day, the court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Indictment in

the above-numbered case. Having conducted a proceeding in the form and manner prescribed by

Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally accept the plea

agreement. The court is of the opinion that the Findings of Fact and Recommendation should be

accepted.


        Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

States magistrate judge are ADOPTED.


        It is further ORDERED that the court conditionally accepts the plea agreement as to Count

I of the Indictment and will defer its final decision as to acceptance or rejection until there has been

an opportunity to consider the presentence report.


       SIGNED this the 21 day of January, 2009.




                                       ____________________________
                                       Thad Heartfield
                                       United States District Judge
